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   1                       UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK
   2

   3   - - - - - - - - - - - - -        X

   4   IME WATCHDOG INC.,               :
                                                22-CV-1032(PKC)
   5               Plaintiff            :

   6
                    -against-           :
   7                                            United States Courthouse
                                        :       Brooklyn, New York
   8   SAFA ABDULRAHIM GELARDI,
                                                December 6, 2022
   9               Defendant.           :       3:00 p.m.

  10    - - - - - - - - - - - -         X

  11
                              TRANSCRIPT OF ORAL ARGUMENT
  12                     BEFORE THE HONORABLE PAMELA K. CHEN
                              UNITED STATES DISTRICT JUDGE
  13

  14   APPEARANCES:

  15
       For the Plaintiff:                    MILMAN LABUDA LAW GROUP PLLC
  16                                         3000 Marcus Avenue, Suite 3W8
                                             Lake Success, NY 11042
  17
                                `            BY: EMANUEL KATAEV, ESQ.
  18

  19   For the Defendant:                    WARNER & SCHEUERMAN
                                             6 West 18th Street, 10th Floor
  20                                         New York, NY 10011

  21                                         BY: KARL SCHEUERMAN, ESQ.

  22
       Court Reporter:                       Andronikh M. Barna
  23                                         225 Cadman Plaza East
                                             Brooklyn, New York
  24                                         (718) 613-2178

  25   Proceedings recorded by mechanical stenography, transcript
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   1                THE COURTROOM DEPUTY:     Civil cause for a premotion

   2   conference.    Docket 22-CV-1032.      IME WatchDog, Inc. versus

   3   Gelardi, et al.

   4                Will the parties please state their appearances for

   5   the record, starting with plaintiff.

   6                MR. KATAEV:   Good afternoon, everyone.      My name is

   7   Emanuel Kataev of Milman Labuda Law Group, PLLC for the

   8   plaintiff.

   9                THE COURT:    Good afternoon, Mr. Kataev.

  10                MR. SCHEUERMAN:    Good afternoon, Your Honor.

  11                Karl Scheuerman from Warner & Scheuerman for the

  12   defense.

  13                THE COURT:    Good afternoon, Mr. Scheuerman.

  14                So we are here on the premotion conference request

  15   of defendants to file a motion to dismiss as to the amended

  16   complaint that was filed in October by the plaintiff in this

  17   case, IME WatchDog.

  18                And I guess I want to just at the outset,

  19   Mr. Kataev, remind you, because your papers are somewhat

  20   unclear at times, that there is only one plaintiff in this

  21   case, in that Ms. Levi is not a plaintiff.         At various points

  22   you refer to the plaintiff as a "she," for example, so

  23   obviously that is an error.       It is IME WatchDog that is the

  24   plaintiff and then there are a number of defendants on the

  25   other side, seven individuals now in one corporation in the



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   1   amended complaint.

   2                But the reason I wanted to meet with the parties is

   3   because given my familiarity with this case, I have a serious

   4   concern that it is getting mired down in unduly acrimonious

   5   and wasteful litigation by both sides, quite frankly.            I was

   6   concerned when the plaintiff filed the request for attorney's

   7   fees after only securing a preliminary injunction, which, to

   8   my mind, was premature and quite unusual.         But now I am

   9   presented with this motion to dismiss request by the defense,

  10   which I think -- and I will explain why in detail -- is

  11   non-meritorious and I think would be extraordinarily wasteful

  12   to file.

  13                And so let me turn everyone's attention to this

  14   proposed motion.     Again, to set the record straight, the

  15   plaintiff here incorrectly says that Judge Cho allowed

  16   plaintiff to amend in this matter based on the merits of the

  17   motion to amend that the plaintiff had filed.          That is

  18   incorrect.    Judge Cho simply allowed plaintiff to amend

  19   because it was still within the period that plaintiff could do

  20   so as of right.     So Judge Cho did not pass at all on or

  21   consider the merits of the motion to amend that was filed

  22   which are essentially being re-raised, effectively, in the

  23   motion to dismiss that now the defense wants to bring.

  24                I would urge you, Mr. Scheuerman, not to file that

  25   motion to dismiss because I will summarily deny it, and I will



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   1   tell you why.     And I understand I cannot tell you not to file

   2   something, especially a motion, but I do want you to

   3   understand that there is no percentage in that motion.           The

   4   arguments you want to make are either ones that I have already

   5   rejected in the context of the motion for fees that was filed

   6   before or otherwise.

   7               So, first of all, you say that the plaintiff has

   8   failed to allege that any defendant made a defamatory

   9   statement which was of and concerning IME, which is the

  10   plaintiff corporation.      You point out that Ms. Gelardi -- and

  11   for the court reporter's sake, if I refer to Ms. Gelardi, the

  12   spelling is G-e-l-a-r-d-i, first name Safa, S-a-f-a, and she

  13   is one of the defendants -- that her GoFundMe page did not

  14   actually name the lawsuit or the company, IME WatchDog.            But

  15   what is clearly incorrect about that and unavailing about that

  16   is, as is laid out in the amended complaint, the GoFundMe page

  17   is linked to Ms. Gelardi's Facebook page in which there are

  18   clear references to the precise lawsuit.         In fact, there is

  19   someone who responds and pulls up the actual opinion that I

  20   issued relating to the preliminary injunction where I made

  21   findings that the defendants had actually stolen the

  22   information that they are alleged to have stolen, or at least

  23   that there was a strong likelihood of success on that based on

  24   the evidence presented to me.       And then there is a specific

  25   identification of exactly the case, the business,



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   1   IME WatchDog.     So there is no doubt here that that is the

   2   business that is being defamed when you link the two together.

   3   And they are linked together by Ms. Gelardi herself.           As I

   4   said in my prior decision, and I address specifically the

   5   request to file defamation claims at that time, I gave very

   6   specific warnings to Ms. Gelardi about what I would find would

   7   be per se defamation.      I do not necessarily want to read the

   8   entire docket order into the record, but it is dated June 10,

   9   2022.   At that time, I specifically said what you are saying

  10   now, which is not correct, Mr. Scheuerman, that at that time,

  11   the statements that were being recited to me did not contain

  12   any identifying details about Levi or WatchDog, that

  13   Ms. Gelardi did not identify the kind of business she was in,

  14   the clients that she served, or other identifying information

  15   that would lead someone who knows Levi or WatchDog to conclude

  16   that the statements concern them.        That is entirely different

  17   now because of the facts that have been brought out in the

  18   amended complaint, that Ms. Gelardi specifically linked her

  19   own Facebook page which expressly now identifies exactly the

  20   business, exactly the case, exactly the players involved:

  21   Ms. Levi and WatchDog.      So the circumstances that I had

  22   previously found did not exist before and thus did not support

  23   the plaintiff's effort then to get contempt, actually, that

  24   was the context, for defamation, now exists.          Or they always

  25   existed, but now those facts are being amended in this amended



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   1   complaint.    So my finding that that would constitute

   2   defamation per se governs here.        It has basically been revived

   3   or brought to life by the new facts that have been discovered

   4   and now are alleged in the amended complaint.

   5                So this addresses the second argument that you

   6   propose to make in your motion to dismiss, that there are no

   7   defamatory statements by Ms. Gelardi but rather they are

   8   subjective opinions posted on social media rather than

   9   assertions of facts capable of being proved false.           I already

  10   rejected that argument before.       These are the same statements

  11   about the business was doing so well, we caught up with our

  12   number-one competitor, the attorney is greedy and ruthless,

  13   et cetera, et cetera.      Again, at the time, the only reason I

  14   did not find per se defamation against Levi and WatchDog was

  15   because they were not specifically identified.          But again,

  16   that is all in the past because the facts now are clear that

  17   Ms. Gelardi did link Levi and WatchDog specifically to the

  18   defamatory statements.      The ones that I said before were

  19   per se defamatory.     And again, that is in the opinion that I

  20   wrote.   I specifically said neither does the Court agree that

  21   Safa Gelardi's statements are mere opinions.          Had they

  22   identified WatchDog or Levi in any manner, they would have

  23   been defamatory per se.      So I have already rejected that

  24   second argument that you proposed to me because I reviewed

  25   those same exact statements and found them defamatory, but



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   1   they had not yet, or at least I was unaware that they had been

   2   connected to Levi and WatchDog.

   3               And then the third argument that you propose to make

   4   is that the plaintiff has failed to plead special damages and

   5   therefore the amended complaint is defective.          That is just

   6   wrong as a matter of law based on my prior finding that the

   7   statements, that are not opinions but are actually defamatory

   8   statements, are per se defamatory, and in that situation you

   9   do not have to plead special damages.         So the case of

  10   Thi versus Cayre Group Limited, 726 F. Supp 323, Southern

  11   District of New York, 2010 stands exactly for that

  12   proposition.    Under New York law, a defamation claim must

  13   either constitute defamation per se or cause special damages.

  14   And so because I ruled that these statements, if connected to

  15   WatchDog or Levi, would be defamatory per se, then special

  16   damages do not need to be pled.        So that would not be a valid

  17   basis for dismissing the amended complaint.

  18               And then finally, the fourth basis upon which you

  19   want to move is your argument that there is no basis for

  20   liability against IME Companions, defendant company, because

  21   the plaintiff concedes that the statements in question had

  22   been made by Safa Gelardi rather than Companions.           And so you

  23   argue that there is not enough of a connection between the

  24   statements made by Ms. Gelardi on her Facebook page and the

  25   Companions company, or I should say on the GoFundMe page.            So



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   1   I guess Ms. Gelardi made those on the GoFundMe page.           But

   2   again, if you connect as Ms. Gelardi did, basically by linking

   3   her Facebook page to her GoFundMe page, if you connect those

   4   two, it is clear that the claims, or these defamatory

   5   statements rather, are being made against Levi and WatchDog

   6   because the case it specifically referenced talks about

   7   WatchDog and the statements say the business was doing so

   8   well.    So she is clearly speaking on behalf of her company,

   9   IME Companions.

  10               And actually, my focus in my prior sentence was

  11   wrong.   The argument you want to make is that there is not

  12   enough of a connection between Gelardi and Companions in her

  13   making those statements.      The plaintiff has responded that the

  14   icon or the logo for IME Companions appears on the Facebook

  15   page of Ms. Gelardi.      That is certainly some evidence by which

  16   someone would link these statements, these defamatory

  17   statements to Companions, but probably in and of itself not

  18   enough because people can put all sorts of logos on their

  19   Facebook page.     For example, if someone likes to drink Coke a

  20   lot, they can put Coke in their little bubble there or a

  21   picture of them drinking Coke, but that would not necessarily

  22   attribute all of their statements to The Coca-Cola Company.

  23   But here, the statements themselves combined with the IME logo

  24   indicates that that is exactly what she is talking about, her

  25   business.    She says:    The business was doing so well, we



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   1   caught up with our number-one competitor.         So clearly everyone

   2   in this area of business, and it is not a big world, would

   3   know exactly who Gelardi is talking for and who she is talking

   4   about, that she is talking about her company, IME Companions,

   5   and her number-one competitor, which is made clear by the

   6   linkage to the Facebook page, plaintiff's company,

   7   IME WatchDog.

   8                So to me, this amended complaint sets forth a claim

   9   for per se defamation, at least based on the standard that

  10   applies here at a complaint stage, which is plausible

  11   inference.    So I would find that your motion to dismiss, as

  12   you have proposed it, would not be successful, so I urge you

  13   not to file it.     I, of course, cannot order you not to file

  14   it, but I do not want you wasting your time or your client's

  15   resources, nor the resources of the plaintiff and their

  16   attorney, or its attorney, to respond.         And as you can tell,

  17   attorney's fees is a very -- it is a source of litigation in

  18   this case; it should not be at this time.         But you might only

  19   just incur more potential claims for attorney's fees if you

  20   file this.    So it is up to you, but I am giving you the

  21   benefit of my analysis.      Because there is really not much more

  22   for me to look at other than the complaint and your arguments

  23   which you have set forth pretty clearly in your letters, in

  24   both of your letters.

  25                So that is what I wanted to explain to you.        I will



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   1    give you some time to think about what you want to do.

   2               And I am happy to hear from either side if you would

   3    like to be heard at this time.

   4               MR. SCHEUERMAN:     Yes, I do, Your Honor.

   5               THE COURT:    Go ahead, Mr. Scheuerman.

   6               MR. SCHEUERMAN:     My problem here is, as you pointed

   7    out in your first statements to plaintiff's counsel is,

   8    there's a conflating here of the plaintiff and the plaintiff's

   9    principal and they're not one and the same for the purposes of

  10    defamation law.    And there's also -- and because of this

  11    conflation, there's also an inherent contradiction in the

  12    nature of the claim.     The claim is that it's defamation per se

  13    because it goes to the profession; i.e., lawyer, greedy

  14    ruthless lawyer.     That's the crux of the defamation claim,

  15    greedy ruthless lawyer.      That's what makes it defamation

  16    per se, correct?

  17               THE COURT:    Hang on.

  18               That is abusing the law.       That would suggest that

  19    the business, along with the greedy, ruthless lawyer, are

  20    abusing the law, right?      To sue me out of business because she

  21    has the means to do so.

  22               MR. SCHEUERMAN:     But in order to be defamation

  23    per se, it has to go to the profession of the plaintiff.            The

  24    plaintiff is an IME watchdog that works for lawyers.          The

  25    plaintiff's principal is a lawyer.        The alleged defamatory



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   1    statements allude to a lawyer and they allude to a female

   2    lawyer with the pronoun "she" and "her" scattered throughout

   3    the statements.    They don't refer in any -- they don't in any

   4    way impugn upon the plaintiff itself ability to conduct its

   5    business, its performance and ability of the business, how it

   6    performs its business.      It doesn't call IME WatchDog a corrupt

   7    company that can't be trusted to work for plaintiff's lawyers

   8    in personal jury cases, doesn't accuse them of any fraudulent

   9    conduct in their business or any dishonesty in the performance

  10    of its business.     The only allegation that has a connection to

  11    a profession is to the individual, Ms. Levi, who is not the

  12    plaintiff in this case.      So they're getting around what is

  13    happening here because plaintiff is getting around the special

  14    damages requirement by saying it's per se because you said

  15    greedy, ruthless lawyer.      But the plaintiff isn't a lawyer.

  16    Now, if the plaintiff here was the Law Offices of Daniella

  17    Levi or, you know, Daniella Levi & Associates, then I wouldn't

  18    want to make the motion, but the plaintiff is IME WatchDog;

  19    IME WatchDog does not practice law.        So I don't understand how

  20    a statement regarding to a -- referring to an attorney can be

  21    deemed defamation per se to a company that doesn't practice

  22    law.   Because in order to be per se, it has to impugn that

  23    business's ability to perform its job, integrity in the

  24    performance of its job, and competence, fitness, et cetera.

  25    Nothing was said about IME WatchDog that they could not be



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   1    trusted by plaintiff's lawyers to be hired to serve as

   2    watchdogs on their behalf in personal jury cases.          Nothing was

   3    said.   The only allegations pertain directly to Ms. Levi, who

   4    is not a plaintiff in this case.

   5                THE COURT:   But how is it not disparaging the

   6    business to say that Levi and WatchDog, because WatchDog is

   7    the plaintiff, are simply suing them to run them out of

   8    business?   I mean, an aggressive litigation strategy that she

   9    claims is based on false claims, how does that not disparage

  10    the company and falsely?

  11                MR. SCHEUERMAN:    But again, so that could serve as

  12    the basis for a defamation claim, but not defamation per se;

  13    because per se has to impugn the business of the plaintiff in

  14    the performance of its business, its integrity, its

  15    competence, its fitness, its qualifications.         You can't say

  16    IME WatchDog are a bunch of criminals and crooks who don't

  17    show up for IMEs.     You can't say that.     But there's nothing

  18    wrong with referring to its principal, who is not a plaintiff,

  19    as a ruthless and greedy attorney.

  20                THE COURT:   But let me ask you a question.        You are

  21    saying that accusing, which is how I read these statements

  22    when you put the two together, the two different pages

  23    together, but accusing IME WatchDog, the plaintiff, of

  24    bringing a purely frivolous lawsuit to bully her company into

  25    bankruptcy is not defamation of the company?



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   1                MR. SCHEUERMAN:    No.

   2                THE COURT:   Because it is about the lawsuit being

   3    brought against them based on false charges and being used to

   4    simply run them out of business improperly.         You are sort of

   5    drawing this distinction between saying aggressive tactics

   6    such as that because they used the legal system versus the

   7    delivery of the services they provide means that it cannot be

   8    defamation per se.

   9                MR. SCHEUERMAN:    Yes.

  10                THE COURT:   What case stands for that proposition?

  11                MR. SCHEUERMAN:    Every case.

  12                It has to impugn upon the quality of the work, the

  13    integrity of the work, not the integrity of the individual who

  14    heads the company.

  15                THE COURT:   No, no.     But again --

  16                MR. SCHEUERMAN:    What they're doing here is they're

  17    bootstrapping --

  18                THE COURT:   No, no, no, no.     Stop, stop, stop.

  19    Please.

  20                You keep focusing on Levi.      I am saying to you, I

  21    construe these statements, when read together, as accusing

  22    WatchDog, the company, of pursuing an aggressive litigation

  23    strategy.   Because they are the only ones who are suing,

  24    right?    It is WatchDog, plaintiff, is suing her company, and

  25    her, she would say based on false accusations simply to bully



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   1    them out of business.     And that is what your client,

   2    Ms. Gelardi, is effectively saying.        You keep recasting it as

   3    her only accusing Levi of this because of the one statement

   4    about a ruthless attorney.       But the reality is, when you put

   5    all of this together, it is a law firm.        I mean, sorry, it is

   6    the company, WatchDog, that is the plaintiff.         And so clearly

   7    the company's reputation as an overly aggressive, unfairly

   8    competing business is being disparaged.        You cannot avoid that

   9    conclusion.

  10               MR. SCHEUERMAN:     That has nothing to do with how it

  11    conducts its business.      That's how it deals with its

  12    competitors.

  13               THE COURT:    Right.    You are saying that that cannot

  14    form the basis of defamation per se?

  15               MR. SCHEUERMAN:     Correct.    They're bootstrapping the

  16    per se because the allegations at the lawyer.

  17               THE COURT:    So what case says that?      That is what I

  18    am asking you.

  19               MR. SCHEUERMAN:     Well, I haven't looked for an exact

  20    case saying that, but the general law is, for it to be

  21    defamation per se, it has to impugn to the plaintiff

  22    dishonesty, misconduct, incapacity, unfitness, or lack of any

  23    necessary qualification in the exercise of its business.

  24               THE COURT:    Wait.    Wait.

  25               MR. SCHEUERMAN:     Suing competitors is not the



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   1    exercise of its business.      Attending IMEs for plaintiff's

   2    lawyers is the exercise of its business.

   3                THE COURT:   I am not sure I agree with you on that.

   4    Pursuing a litigation strategy where you sue somebody for

   5    stealing your trade secrets is certainly a function of the

   6    business.   Going after competitors who you claim have stolen

   7    your secrets and doing it dishonestly is what she is alleging;

   8    we did not steal anything, yet they are suing us.          How is that

   9    not still part of conducting their business?

  10                MR. SCHEUERMAN:    Because they aren't retained by

  11    plaintiff's lawyers to deal with their own competitors.

  12    They're retained by plaintiff's lawyers to attend physical

  13    examinations on behalf of personal injury plaintiffs.           What

  14    they do with their competitors, how they deal competitors, how

  15    they deal with former employees, et cetera, has nothing to do

  16    with how they conduct their business.        The defamation, to be

  17    per se, has to be with respect to the actual conduct of its

  18    business.

  19                THE COURT:   Well, let me just say this.       You can

  20    keep repeating that.

  21                MR. SCHEUERMAN:    Okay.

  22                THE COURT:   But again, and this is -- I am looking

  23    at the letter written by Mr. Warner, your partner, the cases

  24    he cites focus on the individual versus the company, so

  25    Ms. Levi, attacking Ms. Levi versus her company.          You do not



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   1    cite me cases, and you are going to have to, to support this

   2    claim that somehow pursuing litigation, a company pursuing

   3    litigation against a competitor alleging theft of trade

   4    secrets is not part of its business, is not part of it running

   5    its business.    You are focused solely on and, I do not know,

   6    if you are right, you are right, but nothing in your letter

   7    says to me you are right.      You say you do not know any cases

   8    off the top of your head.      Clearly the letter you wrote or

   9    your partner wrote or submitted does not suggest that that is

  10    the case.   But you can bring your motion and make that

  11    argument.   But I hope you understand that the other arguments

  12    you have made, although obviously if it is not defamation

  13    per se, then the failure to plead special damages could be an

  14    argument about the deficiency.       But the other statements about

  15    linkage, I think there is enough to allege a linkage between

  16    your client speaking on behalf of IME Companions and also

  17    about what are defamatory statements, I believe, about the

  18    company.    But you need to make your argument about that then

  19    when you make your motion and find case law that supports

  20    that.

  21                It does not make sense to me that somehow the

  22    definition of conducting one's business is limited simply to

  23    the services that one provides or the products that one

  24    produces, but could include how they go about fending off

  25    competitors, like, you know, predatory pricing.



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   1                Let's suppose they were accused of predatory pricing

   2    falsely.    Would you say that that cannot be defamation?

   3                MR. SCHEUERMAN:    No, that, to me, is a type of

   4    defamation per se.

   5                Improper billing, improper --

   6                THE COURT:   But somehow suing --

   7                MR. SCHEUERMAN:    -- a poor product, incompetence,

   8    unfitness, unqualified, that's what the general rule is.           I

   9    have not located or looked for a case with this specific fact

  10    pattern, and one may not be around.

  11                But I just don't understand how something that's

  12    done outside of the practice of the business is per se,

  13    defamation per se to the -- pertaining to the conduct of the

  14    business itself.     She did not say anything which impugned upon

  15    how they conduct their business on behalf of plaintiff's

  16    lawyers.

  17                THE COURT:   Listen.    Again, I would like to see the

  18    case law.   Because as a matter of common sense and factual

  19    reality, I think the litigation strategy a company pursues

  20    could be how they conduct their business.         Because the

  21    allegation -- I mean, I do not think an individual, for

  22    purposes of defamation law, should be able to say, without a

  23    basis in reality, that a company is suing them solely to put

  24    them out of business because they are competing so well and

  25    based completely on false allegations.        I do not know how that



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   1    cannot be a form of defamation per se, because it certainly

   2    relates to how the company conducts itself and it relates to

   3    the honesty of the company.      You just read that statement a

   4    moment ago about honesty and how it conducts its business.             I

   5    view litigation strategy or litigation it undertakes or

   6    anything related to the law -- let's say, for example, they

   7    have to file forms with the State Department of New York,

   8    which I assume is true, I do not think you can say that they

   9    did that illegally and get -- and if it is false, get away

  10    with not engaging in defamation.       It certainly has to do with

  11    how they conduct their business, but it does not have to do

  12    with providing the actual services.        You would have that

  13    definition so thinly and narrowly defined that it would

  14    exclude a lot of things that businesses do undertake in order

  15    to run their business.      I do not know if you are right.       If

  16    you find the case, I could be persuaded.         But on the face of

  17    it, that strikes me as contrary to common sense in the way and

  18    the purpose of the law.

  19               MR. SCHEUERMAN:      Well, I will do some researching

  20    before we make a decision.      I take Your Honor's words under

  21    advice.

  22               THE COURT:    Yes.

  23               Let me also point out to you that the case law also

  24    says that a false statement constitutes defamation per se when

  25    it charges another with a serious crime or tends to injure



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   1    another in his or her trade, business or profession.          And that

   2    comes from the case of Geraci versus Probst, 61 A.D.3d at 718.

   3    That is a New York Supreme Court case.        And that, at least

   4    that statement, does not at all seem to cabin in or even make

   5    contingent on the business that is being conducted IN whether

   6    or not the alleged bad act related directly to the conduct of

   7    a company's business, but rather focused on the nature of the

   8    statement, the allegedly defamatory statement made by the

   9    maker and its impact on the allegedly defamed party.          So

  10    regardless of whether or not it has to do with how their

  11    business was conducted, the question is:         Did it injure his or

  12    her trade or business?      I guess that in some ways could apply

  13    to Levi.   But she is not the plaintiff here, so I guess that

  14    is --

  15               MR. SCHEUERMAN:     That's my problem here.

  16               THE COURT:    Well, no, that could be a limitation on

  17    that concept.

  18               But again -- but again -- I do find there is enough

  19    of a connection to the statements your client made, which is

  20    basically about the business, WatchDog, because WatchDog is

  21    the plaintiff.    And so if, in fact, bringing a lawsuit could

  22    be deemed as part of running one's business or if there really

  23    is not such a narrow construction of what the defamation has

  24    to relate to, I do not see a problem with WatchDog bringing

  25    the defamation claim based on the statements that were made.



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   1    It is clear, to me at least, that the statements themselves

   2    are impugning what WatchDog is doing in terms of bringing the

   3    lawsuit, even though obviously it also is against Levi

   4    herself.   And I will say this.      Based on the links to the case

   5    itself, the fact that Ms. Levi is really, for all practical

   6    purposes, WatchDog, the company, I think draws a nexus between

   7    her and WatchDog, the plaintiff, much closer.

   8               But you should brief your motion then, because I can

   9    hear that you are not dissuaded from doing so.         You think you

  10    have a good argument.     Like I said, I am giving you the

  11    benefit of my thoughts already.       But I think as a matter of

  12    factual allegations, there is enough here to connect your

  13    client as making a statement on behalf of IME Companions and

  14    her statements going against or being about both Levi and

  15    WatchDog, because of the direct reference to the lawsuit and

  16    the players in the lawsuit and the plaintiff in the lawsuit,

  17    which is WatchDog.     I also preliminarily disagree with you

  18    that that cannot be defamation per se as to WatchDog, but that

  19    is, I guess, going to be the point you are going to try to

  20    make in your motion.

  21               How much time do you want to file your motion?

  22               MR. SCHEUERMAN:     Whatever the Court thinks is best.

  23               THE COURT:    I do not have any view.      Do you want

  24    30 days?

  25               MR. SCHEUERMAN:     30 days would be great, Your Honor.



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   1                THE COURT:    Okay.

   2                Also, you need to enter your appearance, I think, in

   3    this matter.

   4                MR. SCHEUERMAN:      Yes.   I was unaware.   I operated on

   5    my partner's PACER account.

   6                THE COURT:    Okay.   All right.

   7                MR. KATAEV:   Your Honor, may I address some of these

   8    issues before we go to the schedule?

   9                THE COURT:    Yes.    Go right ahead.

  10                MR. KATAEV:   Thank you.

  11                So I imagine that because IME WatchDog Inc. is a

  12    corporation duly formed under the laws of the State of

  13    New York, that its certificate of incorporation probably says

  14    -- I haven't seen it -- that it is authorized to perform any

  15    lawful act in furtherance of its business.          That's a statement

  16    that's designed to explain the scope of its business.           And if

  17    it says something like that, which most certificates of

  18    incorporation do, I would submit that any act that it takes,

  19    including bringing litigation, is within the scope of its

  20    business.   It's not limited to solely scheduling IMEs and

  21    having observers attend them and so on and so forth.          It's,

  22    broadly speaking, anything and everything that it does

  23    lawfully.   And it is lawful to bring a lawsuit, and it did so.

  24    So I would argue that and I share that with opposing counsel,

  25    for him to consider that argument before deciding whether or



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   1    not defendants wish to pursue that motion.

   2                 And I'm also confused about this

   3    it's-plaintiff-not-Levi and you're focusing on Levi and not

   4    plaintiff.    I cited extensive case law on this subject, that

   5    courts have allowed claims where the statement did not

   6    identify the plaintiff but named an individual who was

   7    understood to represent the plaintiff.        Mrs. Levi is the

   8    principal of the plaintiff.      She formed the entity.      She is

   9    the face of that company.      In the complaint she talks about

  10    how extensively she worked to have all these law firms come to

  11    her to have these services performed.        Because she's a

  12    personal injury attorney, when she was in court she would

  13    speak to her colleagues and talk about the business.          That's

  14    how she built it up, from the ground up.         So she is, in

  15    essence, the plaintiff.      Any derogatory remark against her,

  16    setting aside the fact that she's an attorney, is against the

  17    plaintiff.

  18                 There is another case that I cite.      The first case

  19    is Daytree.    It's an Eastern District of New York decision

  20    from 2018.    I didn't cite which judge.      It says that a

  21    statement about a company -- it's the reverse here, I

  22    acknowledge that -- Daytree was of and concerning two

  23    individuals.

  24                 THE COURT:   Can I stop you.

  25                 I do not think that is a discussion anymore.        I



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   1    agree with you that the letter filed by Mr. -- what is your

   2    partner's name?

   3                 MR. SCHEUERMAN:   Warner.

   4                 THE COURT:    -- Mr. Warner focused on the individual

   5    versus the company.

   6                 But the argument Mr. Scheuerman is making is

   7    different.

   8                 MR. KATAEV:   Okay.

   9                 THE COURT:    He is saying you can only defame a

  10    company by attacking how it provides its services, not by how

  11    it carries out other aspects of its business, by filing

  12    litigation.    Because they are not in the business -- they are

  13    not lawyers, for example, I guess is the argument -- you

  14    cannot defame them for bringing a false lawsuit.          That is what

  15    he is arguing.    And that is essentially what this -- that is

  16    the thrust of the defaming statement, which is that they are

  17    bringing a false lawsuit simply to drive us out of business.

  18    So Mr. Scheuerman's more nuanced argument, but different than

  19    what his partner argued, as one of the bases is that that

  20    cannot be defamation as to a company that is not in the

  21    business of suing people.

  22                 MR. KATAEV:   Yes, but in fairness, he's making both

  23    arguments, this argument that you just discussed and the other

  24    one.

  25                 THE COURT:    Well, I reject the argument that there



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   1    is any daylight between Ms. Levi and the company because of

   2    some of the reasons that you said, but more because ultimately

   3    everything is linked back to the actual case and WatchDog is

   4    clearly the business and the business is referred to

   5    throughout this allegedly defaming statement.         At the end it

   6    says:   This is another example of big companies putting anyone

   7    who wants to compete with them out of business.          So, clearly

   8    defaming WatchDog directly, regardless of Ms. Levy being the

   9    focus of the beginning part to some extent.         But she is sort

  10    of the actor or the person who is, I would say, pushing the

  11    company, and it is clear, to do that.        But there can be no

  12    mistake or doubt, I do not think, and it is certainly a

  13    reasonable inference, that the statement is actually defaming

  14    both WatchDog and Ms. Levi because it says this is what big

  15    companies do to put their competitors out of business.

  16               Mr. Scheuerman, your only, and the only argument I

  17    really am interesting in looking at, because I have resolved

  18    everything else based on what I have seen, is, is there any

  19    case law to support the notion that you cannot defame a

  20    company for engaging in overly aggressive litigation, or

  21    something else, whatever it is, that is not at the core of the

  22    services they provide or the actual business, if you want to

  23    call it that, that they are in.

  24               MR. SCHEUERMAN:     If I may, Your Honor?

  25               The question isn't whether it's defamatory, whether



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   1    it's defamatory per se.      Because if not per se, they have to

   2    plead special damages, and they only pled general damages

   3    here.

   4               That, to me, is the --

   5               THE COURT:    Okay.

   6               MR. SCHEUERMAN:     Is the issue as Your Honor sees it

   7    at this point in time, correct?

   8               THE COURT:    Right.    Well --

   9               MR. SCHEUERMAN:     Well, potential issue.

  10               THE COURT:    I mean, yes, I think that --

  11               MR. SCHEUERMAN:     I don't want to be presumptive.

  12               THE COURT:    Well, are you conceding that it is

  13    defamatory to the company, but is not necessarily defamatory

  14    per se?

  15               MR. SCHEUERMAN:     I don't believe it's defamatory,

  16    Your Honor.

  17               THE COURT:    Well, right.     That is --

  18               MR. SCHEUERMAN:     I really don't.     I really don't.

  19               But I appreciate your position, your opinion.          And I

  20    understand that you want me to focus on whether or not it's

  21    defamatory per se to the company.

  22               THE COURT:    No, actually, I want you to focus on

  23    your argument, which is you say it is not defamatory unless it

  24    attacks what a company does as its primary business.          That is

  25    your argument.



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   1                MR. SCHEUERMAN:    No, not -- defamatory per se.       The

   2    question is, is it defamatory per se.

   3                THE COURT:   Okay.   So you are acknowledging that it

   4    could be defamatory in terms of attacking the honesty of the

   5    company.    You are saying that it is not defamatory per se and

   6    that only implicates the issue of special damages.

   7                MR. SCHEUERMAN:    Well, it's clear you don't want to

   8    hear a debate this afternoon on whether or not it's

   9    defamatory.

  10                But my -- so my position in light of that is there's

  11    an issue whether that could be defamatory per se.          Because if

  12    not defamatory per se, then the plaintiff has to plead special

  13    damages and she has not.      It has not.    Excuse me.

  14                THE COURT:   Okay.   Remember, we have a court

  15    reporter.

  16                MR. SCHEUERMAN:    I apologize.

  17                THE COURT:   Yes, I do not want to debate at length

  18    anything with you, only because I have not seen any case law.

  19                MR. SCHEUERMAN:    Yes.

  20                THE COURT:   But I want you to understand that you

  21    should, in your written motion, make whatever argument you

  22    think is appropriate and legally supportable.         If your

  23    argument is that there can be no defamation, period, as to a

  24    company if the attack is not about the provision of its

  25    services, then you should make that argument, obviously.           If



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   1    that is correct as a matter of law, then you would be able to

   2    move, you would be successful in dismissing those claims in

   3    the amended complaint.      But you are a bit of a moving target

   4    on this.   I am not sure I understand what your argument is,

   5    and maybe because you have not looked at the case law.           If you

   6    are limiting your argument to you cannot find or it is not

   7    enough for defamation per se if you are not attacking the

   8    services or if the statements do not relate to the services

   9    provided, then make that argument.        So I am not telling you

  10    not to make an argument if you think you have one.          I just

  11    have not seen any case law that supports that.

  12               And in the letter written by your partner, the focus

  13    was on whether or not the statements that talk about Ms. Levi

  14    are really about WatchDog, are really defaming WatchDog, which

  15    is a separate issue.     And I am telling you on that, I find

  16    that the statements on their face are defaming both of them

  17    because it references her and it references her business and

  18    it references the business trying to put Ms. Gelardi's

  19    business out of business, to use that word three times in one

  20    sentence, and so I do not think there is any real argument to

  21    be made that the allegedly defaming statement is only about

  22    Ms. Levi, even though it says she is greedy and ruthless.

  23               MR. SCHEUERMAN:     It's difficult to fully brief each

  24    issue on a three-page limit, Your Honor.

  25               THE COURT:    Understood.    Understood.



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   1                But, I mean, I think what you are arguing, it

   2    strikes me as counterintuitive.       But if there is case law

   3    supporting it, then you should brief that.

   4                Mr. Kataev, I only cut you off because I do not

   5    think, based on my opinion, there is any real argument to be

   6    made that somehow the statements are only about Ms. Levi.

   7    That argument, I would reject.       It is clear to me on the face

   8    of it, especially when you link it to the actual case itself

   9    and her Facebook page and the extended discussion that she

  10    gets into with one of the repliers or responders or

  11    commenters, it is pretty clear that she is defaming both the

  12    company and Ms. -- I would say, defaming both the company and

  13    Ms. Levi.

  14                MR. KATAEV:   For the benefit of my understanding as

  15    to the Court's initial comment about my referencing "her"

  16    instead of "it," the company, that's mutually exclusive from

  17    this; is that right?

  18                THE COURT:    Well, I am just noting it as a matter of

  19    --

  20                MR. KATAEV:   Grammar?

  21                THE COURT:    Yes.   Grammar and carefulness, right?

  22    Because you should not be referencing plaintiff as "she"

  23    because she is not a plaintiff.

  24                MR. KATAEV:   I will be more mindful.

  25                THE COURT:    Right.   That is all.



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   1               But, you know, I understand your position that they

   2    are interchangeable as a legal matter, but I think that you

   3    have to argue based on some facts.        Just rhetorically, you

   4    will have to be careful about referencing the plaintiff as the

   5    company.

   6               MR. KATAEV:    Understood.

   7               THE COURT:    All right.    So 30 days to file your

   8    motion.

   9               THE COURTROOM DEPUTY:      January 5th, 2023.

  10               THE COURT:    And then 30 days to respond.

  11               MR. KATAEV:    Generous.

  12               MR. SCHEUERMAN:     And no reply, Your Honor?

  13               THE COURTROOM DEPUTY:      Response due February 6th.

  14               THE COURT:    And then two weeks for the reply.

  15               THE COURTROOM DEPUTY:      Reply is due February 20th.

  16               MR. KATAEV:    And to assist opposing counsel in

  17    making his motion, the opposition papers will include a

  18    request for leave to replead if there is a dismissal.           I have

  19    case law supporting that position.

  20               THE COURT:    Well, I mean, let me ask you a question.

  21    Is there something you would do to fend off this motion?

  22               MR. KATAEV:    The only thing I could think of,

  23    Your Honor, that might persuade the other side not to move

  24    forward with the motion practice, which anecdotally in

  25    convincing the other side not to do it takes away the argument



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   1    that we're aggressively suing in order to raise attorney's

   2    fees to put them out of business, is to plead special damages

   3    in the event it's found not to be defamation per se as an

   4    alternative argument.

   5                   THE COURT:    Well, can you plead special damages?

   6                   MR. KATAEV:   I have to investigate that.

   7                   THE COURT:    Well, if you can, I suggest you do so

   8    because it may end up short-circuiting this process.

   9    Especially if it turns out Mr. Scheuerman's argument is that

  10    unless the defamatory statements relate to the company's

  11    functioning, its basic functioning, you have to plead special

  12    damages, then maybe you could, you know, interrupt that

  13    process.    If you think you can, just let Mr. Scheuerman know

  14    so that neither side wastes time briefing it.         I am not sure

  15    it will necessarily convince Mr. Scheuerman that he does not

  16    want to file something, and obviously that is their right, but

  17    you might save yourselves money.        Your client's money, that

  18    is.    Okay?

  19                   MR. KATAEV:   May I propose a deadline of the 19th

  20    for me to make that motion to amend or application?

  21                   THE COURT:    Well, I mean, I guess you can let us

  22    know by the 19th of this month.

  23                   MR. KATAEV:   Yes.

  24                   THE COURT:    Yes, that is fine.   If you want to file

  25    something and advise myself and Mr. Scheuerman, that would be



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   1    good.   Probably more effective, though, is for you to explain

   2    to Mr. Scheuerman how you plan to amend.

   3               MR. KATAEV:    In advance of that.      Yes, of course.

   4               THE COURT:    Right.    Well, whether they will be

   5    satisfied or not.     So it is less important to let me know as

   6    it is to let the other side know to see if that dissuades them

   7    from filing the motion.

   8               MR. KATAEV:    Understood.

   9               THE COURT:    Whatever happens though, if no motion is

  10    filed, then, Mr. Scheuerman, you certainly should let us know

  11    on the due date that you are not filing a motion.          Okay?

  12               MR. SCHEUERMAN:     Yes, Your Honor.

  13               THE COURT:    Now, the other thing is, I do prefer

  14    that the parties do what is called bundling, which means that

  15    you, Mr. Scheuerman, would not actually file your motion on

  16    the due date, but you would simply serve it on plaintiff, but

  17    you would file a letter indicating you had served it, so your

  18    cover letter indicating service.       And then Mr. Kataev would do

  19    the same in terms of the plaintiff's opposition, serve it but

  20    not file it, but file the letter indicating service.          And then

  21    on the last day, final day, which is the reply date, both

  22    sides would file their respective pleadings.

  23               The reason I ask you to do this, but I cannot force

  24    you to do it, is because it allows me to be more liberal with

  25    extensions because the date that you file your motion starts



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   1    an internal clock ticking in terms of getting the decision

   2    just done.    And so obviously once you start that clock

   3    ticking, it makes it harder for me to expand the time,

   4    especially depending on, you know, how much time you want.

   5    Okay?

   6                 So like I said, if you think though, however, you

   7    are going to run against some other deadline that is important

   8    or filing later would affect something else, you could file it

   9    whenever you want to.      Again, I cannot force you not to do

  10    that.    Okay?

  11                 MR. SCHEUERMAN:      Thank you, Your Honor.

  12                 THE COURT:    All right.   So, Mr. Scheuerman, you will

  13    enter your appearance through whatever PACER portal you want

  14    to.

  15                 All right.    I look forward to hearing from you,

  16    folks.    If you can work it out, I think it would be best and

  17    maybe just move on with this case, but obviously you have to

  18    pursue whatever strategy is most appropriate for your client.

  19    Okay?

  20                 MR. KATAEV:   Judge, I do have one other concern I

  21    would like to raise.

  22                 THE COURT:    Yes.

  23                 MR. KATAEV:   With respect to discovery, currently

  24    the deadline for the close of discovery is January 20th.           We

  25    have not received any documents from the forensic analyst.



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   1    There is --

   2               THE COURT:       Yes.    I said you should take this up

   3    with Judge Cho.

   4               MR. KATAEV:      Understood.

   5               THE COURT:       Okay.   Because I think we ended up

   6    extending, maybe, the deadline.           But otherwise, if there is

   7    some dispute about discovery, take it up with Judge Cho.

   8               MR. KATAEV:      Including an extension?

   9               THE COURT:       Yes.    Because I think the last order we

  10    said was from now on Judge Cho would deal with any extensions.

  11               MR. KATAEV:      Understood, Your Honor.

  12               THE COURT:       Yes.

  13               MR. SCHEUERMAN:         Thank you, Your Honor.

  14               THE COURT:       Thank you, everyone.      Have a good

  15    holiday.

  16               MR. KATAEV:      Great to see you, Judge.

  17               (Matter concluded.)

  18

  19                            *      *      *     *     *

  20

  21    I certify that the foregoing is a correct transcript from the
        record of proceedings in the above-entitled matter.
  22

  23        /s/ Andronikh M. Barna                      December 18, 2022
        _________________________________                ________________
  24          ANDRONIKH M. BARNA                         DATE

  25



            Andronikh M. Barna, Official Court Reporter, RPR, CRR
